                         Case: 3:97-cr-00074-bbc Document #: 623 Filed: 06/11/08 Page 1 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                                                                                           Judgment - Page 1 of 6




                          United States District Court
                                            Western District Of Wisconsin
                   UNITED STATES OF AMERICA                       SECOND AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                         (for offenses committed on or after November 1, 1987)
                                                                                        RE-SENTENCING

                                  V.                                            Case Number:            97-CR-74-C-01

                          CHRISTOPHER BELL                             Defendant's Attorney:            ALAN HABERM EHL




The Defendant, Christopher Bell,
pleaded guilty to count 1of the indictm ent.

Counts 11, 12, and 13 of the indictm ent are dism issed on the m otion of the United States.




                                                                                                     Date Offense Count
Title & Section                        Nature of Offense                                             Concluded      Num ber(s)
21 U.S.C. § 846                        Conspiracy to Distribute Cocaine Base, a Schedule II          August 1, 1997      1
                                       Controlled Substance; a Class A felony


The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of nam e, residence, or mailing address until all fines, restitution, costs, and special assessm ents
imposed by this judgment are fully paid.




  Defendant's Soc. Sec. No.:              XXX-XX-XXXX                                                     May 27, 2008
                                                                                                 Date of Imposition of Judgment
  Defendant's Date of Birth:              September 4, 1974

  Defendant's USM No.:                    04220-090                                                   /s/ Barbara B. Crabb
                                                                                                        Barbara B. Crabb
  Defendant's Residence Address:          1806 Fayette
                                                                                                         District Judge
                                          Beloit, WI 53511

  Defendant's Mailing Address:            c/o Bureau of Prisons                                            June 9, 2008
                                                                                                           Date Signed:
                    Case: 3:97-cr-00074-bbc DEFENDANT:
                                             Document CHRISTOPHER
                                                       #: 623 Filed:
                                                                  BELL06/11/08 Page 2 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                 CASE NUMBER:      97-CR-74-C-01                Second Amended Judgment - Page 2 of 6


                                                  IMPRISONMENT
As to count one of the indictm ent, it is ordered that the am ended judgm ent entered on March 12, 1998, is am ended again to
provide that defendant is to be com m itted to the custody of the Bureau of Prisons for a term of 154 m onths.

In all other respects, the judgm ent rem ains as entered on March 12, 1998.

The Court m akes the following recom m endations to the Bureau of Prisons:

I recom m end that defendant be given the opportunity to participate in the Bureau of Prisons’ Intensive Drug Treatm ent Program
and that defendant spend the last 120 days of his confinem ent in a com m unity corrections center with work release privileges.




                                                           RETURN
          I have executed this judgment as follow s:




          Defendant delivered on                                     to

at                                  , with a certified copy of this judgm ent.




                                                                                  UNITED STATES MARSHAL
                                                         By
                                                                                        Deputy Marshal
                    Case: 3:97-cr-00074-bbc DEFENDANT:
                                             Document CHRISTOPHER
                                                       #: 623 Filed:
                                                                  BELL06/11/08 Page 3 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                   CASE NUMBER:      97-CR-74-C-01                  Second Amended Judgment - Page 3 of 6


                                              SUPERVISED RELEASE
Upon release from im prisonm ent, defendant shall be on supervised release for a term of 60 m onths as to count 1.


Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not com m it another federal, state, or local crim e.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm or destructive device while on supervised
release.

If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that rem ains unpaid at the com m encem ent of the term of supervised release in accordance with the
Schedule of Paym ents set forth in the Financial Penalties sheet of this judgm ent.

Defendant shall com ply with the standard conditions that have been adopted by this court (set forth on the next page).

Defendant shall also com ply with the following special conditions:

1)        Register with local law enforcem ent agencies and the state attorney general, as directed by the supervising U.S.
          probation officer;

(2)       Abstain from the use of alcohol and illegal drugs and from association with drug users and sellers and participate in
          substance abuse treatm ent. Defendant shall subm it to drug testing beginning within 15 days of his release and 60
          drug tests annually thereafter. The probation office m ay utilize the Adm inistrative Office of the U.S. Courts' phased
          collection process. (Language amended)

3)        Provide financial docum ents to the supervising U.S. probation officer as directed; and

4)        Allow searches by the supervising U.S. probation officer of any residence or property under defendant's control where
          there is reason to believe defendant is in possession of illegal narcotics, stolen m aterials, firearm s or other contraband
          and perm it confiscation of any contraband m aterials.
                    Case: 3:97-cr-00074-bbc DEFENDANT:
                                             Document CHRISTOPHER
                                                       #: 623 Filed:
                                                                  BELL06/11/08 Page 4 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                   CASE NUMBER:     97-CR-74-C-01                  Second Amended Judgment - Page 4 of 6


                                  STANDARD CONDITIONS OF SUPERVISION
    1)   Defendant shall not leave the judicial district without the perm ission of the court or probation officer;

    2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall subm it a
         truthful and com plete written report within the first five days of each m onth;

    3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

    4)   Defendant shall support his or her dependents and m eet other fam ily responsibilities;

    5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

    6)   Defendant shall notify the probation officer within seventy-two hours of any change in residence or em ploym ent;

    7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
         adm inister any narcotic or other controlled substance, or any paraphernalia related to such substances except as
         prescribed by a physician;

    8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

    9)   Defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any
         person convicted of a felony unless granted perm ission to do so by the probation officer;

  10)    Defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

  11)    Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcem ent officer;

  12)    Defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent
         agency without the perm ission of the court;

  13)    As directed by the probation officer, defendant shall notify third parties of risks that m ay be occasioned by
         defendant's crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake
         such notifications and to confirm defendant's com pliance with such notification requirem ent.
                    Case: 3:97-cr-00074-bbc DEFENDANT:
                                             Document CHRISTOPHER
                                                       #: 623 Filed:
                                                                  BELL06/11/08 Page 5 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                CASE NUMBER:    97-CR-74-C-01                 Second Amended Judgment - Page 5 of 6


                                    CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of paym ents set forth below.


                           Count     Assessment             Fine                  Restitution

                                     $100.00                $0.00                 $0.00




                            Total    $100.00                $0.00                 $0.00




                                                   RESTITUTION
                    Case: 3:97-cr-00074-bbc DEFENDANT:
                                             Document CHRISTOPHER
                                                       #: 623 Filed:
                                                                  BELL06/11/08 Page 6 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                CASE NUMBER:     97-CR-74-C-01                 Second Amended Judgment - Page 6 of 6




Paym ents shall be applied in the following order:
                                                       (1) assessm ent;
                                                       (2) restitution;
                                                       (3) fine principal;
                                                       (4) cost of prosecution;
                                                       (5) interest;
                                                       (6) penalties.


The total fine and other m onetary penalties shall be due in full im m ediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgm ent im poses a period of
im prisonm ent, paym ent of m onetary penalties shall be due during the period of im prisonm ent.
